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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

LULA WILLIAMS, et al.,                      :
                                            :
                      Plaintiffs,           :
v.                                          : Civil Action No. 3:17-cv-00461 (REP)
                                            :
                                            :
BIG PICTURE LOANS, LLC, et al.,             :
                                            :
                      Defendants.           :

               MEMORANDUM IN SUPPORT OF CONSENT MOTION
            FOR EXTENSION OF DEADLINE FOR TRANDOTCOM FILING

       Plaintiffs, by counsel, respectfully submit this memorandum of law in support of their

Consent Motion for Extension of the Deadline for TranDotCom Filing.

       On March 13, 2019, the Court entered an Order granting Plaintiffs’ Motion for Entry of

Order (ECF No. 303), and setting a deadline of March 30, 2019 for TranDotCom Solutions, LLC

(“TranDotCom”) to segregate and preserve data to be produced post-class certification ruling,

and to file a pleading certifying the same. (ECF No. 416.)

       Plaintiffs’ Counsel sent a copy of the Court’s March 13 Order and Memorandum

Opinions (ECF Nos. 415, 416) to TranDotCom’s counsel on March 13, 2019.

       On March 29, 2019, Plaintiffs filed a consent motion seeking an extension so that

Plaintiffs and TranDotCom could confer about the data sample TranDotCom produced to ensure

that the data includes the agreed elements covered by the Subpoena. (ECF No. 448.) On April

2, 2019, the Court granted the requested extension through and including April 12, 2019. (ECF

No. 452.)

       Plaintiffs’ Counsel and TranDotCom’s counsel then exchanged further correspondence

regarding the data to be segregated for eventual production. Specifically, Plaintiffs’ Counsel
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sent TranDotCom a detailed letter requesting explanations of some of the values in the sample

spreadsheet (which appear to be codes), and also asked questions about the origins of some of

the data, and whether there might be additional relevant data from which the presented data was

derived. TranDotCom’s counsel then presented these questions to TranDotCom but was still

awaiting responses as to certain technical questions, so Plaintiffs filed a second consent motion

for extension of the deadline. (ECF No. 466.) The Court granted the extension, up to and

including April 19, 2019. (ECF No. 468.)

       Plaintiffs’ Counsel and TranDotCom’s counsel are working together to ensure they reach

agreement on precisely which fields of data need to be segregated and preserved.            In the

meantime, TranDotCom’s counsel has confirmed that all potential data for production has been

secured.   TranDotCom has informed Plaintiffs’ Counsel that it has not finished compiling

responses to Plaintiffs’ technical questions and data field explanations at this time. Plaintiffs’

Counsel will then require additional time to review TranDotCom’s responses in order to

determine if the sample’s methodology is sufficient to meet the requests of Plaintiffs’ Subpoena.

Thus, TranDotCom cannot yet file the required pleading with the Court certifying the production

data is segregated in full. Plaintiffs’ Counsel has been informed by TranDotCom’s counsel that

another week is necessary for it to respond to Plaintiffs’ questions. Thus, Plaintiffs believe that

an extension of TranDotCom’s filing deadline up to and including May 3, 2019 should be

sufficient time for the parties to complete the meet and confer process on the ultimate data to be

segregated, and for TranDotCom to complete the segregation process and be prepared to certify

the same. Plaintiffs’ Counsel have conferred with TranDotCom’s counsel about this requested

extension, and TranDotCom’s counsel is in agreement. Defendant Martorello takes no position

on this request.




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       The deadline for the TranDotCom filing has not yet passed, thus this request for an

extension is timely made. The extension will not affect any other deadlines in this case, as the

actual production of the data is not required until the Court rules on class certification. The

extension is not prejudicial to any of the parties, is not sought for a dilatory purpose, and would

serve the purposes of justice.    Therefore, good cause is shown for granting the requested

extension.

       Plaintiffs thus respectfully request the Court grant the Consent Motion for Extension for

TranDotCom Filing.


                                                     Respectfully submitted,
                                                     PLAINTIFFS

                                                     By: _/s/ Kristi C. Kelly___________
                                                             Counsel


Kristi C. Kelly, Esq., VSB #72791
Andrew J. Guzzo, Esq., VSB #82170
Casey S. Nash, Esq., VSB #84261
KELLY GUZZO, PLC
3925 Chain Bridge Road, Suite 202
Fairfax, VA 22030
Telephone: (703) 424-7572
Fax: (703) 591-0167
Email: kkelly@kellyguzzo.com
Email: aguzzo@kellyguzzo.com
Email: casey@kellyguzzo.com
Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 19th of April, 2019, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to all counsel of record.




                                             ________/s/____________________
                                             Kristi Cahoon Kelly, Esq. (VSB #72791)
                                             KELLY GUZZO, PLC
                                             3925 Chain Bridge Road, Suite 202
                                             Fairfax, VA 22030
                                             Tel: 703-424-7572
                                             Fax: 703-591-0167
                                             Email: kkelly@ kellyguzzo.com
                                             Counsel for the Plaintiffs




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